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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION
                         _____________________________________

UNITED STATES OF AMERICA                     |
                                             |
                                             |
v.                                           |              No. 3:15-cr-00496-L
                                             |
USPLABS, LLC                          (1)    |
JACOBO GEISSLER                       (2)    |
JONATHAN DOYLE                        (3)    |
MATTHEW HEBERT                        (4)    |
S.K. LABORATORIES, INC.               (5)    |
SITESH PATEL                          (6)    |


    DEFENDANTS USPLABS, LLC, JONATHAN DOYLE, JACOBO GEISSLER,
 MATTHEW HEBERT, S.K. LABORATORIES, INC. SITESH PATEL AND KENNETH
     MILES’S MOTION AND BRIEF TO DISMISS COUNTS NINE AND TEN
                FOR UNCONSTITUTIONAL VAGUENESS

       Defendants USPlabs, LLC (“USPlabs”), Jonathan Doyle, Jacobo Geissler, and Matthew

Hebert (collectively, the “Owner Defendants”), Kenneth Miles, S.K. Laboratories (“S.K. Labs”),

and Sitesh Patel, by and through undersigned counsel, respectfully move this Court to dismiss

Counts Nine and Ten of the First Superseding Indictment [Dkt. No. 95, filed Jan. 5, 2016] (the

“Indictment”). Counts Nine and Ten – strict-liability misdemeanor charges for misbranding and

adulteration, respectively – must be dismissed because they are based on statutes that are void for

vagueness, in violation of the Fifth Amendment’s Due Process Clause. Defendants would

respectfully show the Court as follows.
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I.       SUMMARY OF THE ARGUMENT

         USPlabs is a dietary supplement own-label distributor; SK Labs is a contract

manufacturer that manufactured USPlabs’ supplements and consulted on supplement

formulation.     In November 2015, the Government indicted USPlabs, its three principals

(Geissler, Doyle, and Hebert), one of its consultants (Willson), and its compliance officer

(Miles), and SK Labs and one of its employees (Patel) on a number of counts relating to

Defendants’ importation of dietary ingredients and marketing and sale of dietary supplements

containing those ingredients.     Counts Nine and Ten of the Indictment allege strict-liability

misdemeanor charges for misbranding and adulteration, respectively, relating to two supplements

that USPlabs marketed for brief periods of time: OxyELITE Pro Advanced Formula (“Advanced

Formula”) and OxyELITE Pro New Formula (“New Formula”).                   Both counts should be

dismissed as unconstitutionally vague.

         21 U.S.C. § 333(a)(1) – the provision under which both Counts Nine and Ten are charged

– is unconstitutionally vague for two reasons. First, it lacks a scienter requirement. As such, it

would permit a defendant to be convicted without any mens rea as to the underlying facts of

adulteration or misbranding, even if someone other than the defendant took the relevant actions.

Second, the purported substitute for scienter – the requirement that a defendant have a position of

“responsibility” within a company at which misbranding or adulteration occurs – has not been

given any discernable standards by Congress or the courts.

         Beyond these fatal defects, the underlying substantive statutes – 21 U.S.C. § 343(a)(1) for

misbranding, and 21 U.S.C. § 342(f)(1)(A)(i) for adulteration – also suffer from their own

vagueness problems when applied to the facts of this case. When these problems are combined

with a criminal enforcement statute that lacks an intent requirement, charges based on these

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statutes cannot withstand Constitutional scrutiny.              Counts Nine and Ten must therefore be

dismissed.

II.     INTRODUCTION AND BACKGROUND

        Counts Nine and Ten relate to two of USPlabs’ products: Count Nine, the misbranding

count, relates to OxyELITE Pro Advanced Formula (“Advanced Formula”), and Count Ten, the

adulteration count, relates to OxyELITE Pro New Formula (“New Formula”). New Formula

contained an ingredient called Aegeline, which is derived from the Bael plant, which has been

consumed as food for thousands of years; Advanced Formula contained both Aegeline and

extract of cynanchum auriculatum (“Cynanchum”), a plant found throughout Asia that has also

been consumed as food for many years. USPlabs began marketing New Formula in November

2012, followed by Advanced Formula in August 2013. 1 Dkt. #95 ¶¶ 29, 32.

        The Indictment makes two different allegations regarding these two dietary supplements:

In Count Nine, the Government alleges that Advanced Formula was misbranded because its label

declared Cynanchum as “cynanchum auriculatum (root) extract.” According to the Government,

this labeling “was false and misleading” within the meaning of 21 U.S.C. §343(a)(1) because the

Cynanchum in Advanced Formula was in powder form, not an extract (even though most

extracts are in powder form). 2 Id. ¶¶ 63, 68.

        In Count Ten, the Government conclusory alleges that New Formula “presented a

significant or unreasonable risk of illness or injury under the conditions of use recommended or


1
         USPlabs voluntarily took Advanced Formula off the market after only 65 days as part of USPlabs’ efforts
to cooperate with the Government’s investigation into a purported liver injury cluster in Hawaii. USPlabs and the
other Defendants believed at all times (and still believe to this day) that Advanced Formula was safe and are aware
of no evidence showing otherwise.
2
         As explained in other motions, Count 9 is also subject to dismissal because the only document referenced
in the Indictment supporting this allegation established that the Cynanchum USPlabs used in Advanced Formula
was, in fact, an extract.
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suggested in labeling,” in violation of the standards set forth in 21 U.S.C. § 342(f)(1)(A)(i). Id.

The Indictment does not specify what in particular made New Formula adulterated, but it appears

from elsewhere in the Indictment that this relates to USPlabs’ use of Aegeline in New Formula.

Id. ¶¶ 33, 35. However, the Indictment does not point to any scientific study supporting the

conclusion that either aegeline or any other dietary ingredient in New Formula presents a risk of

consumer harm, any scientific evidence establishing any causative link between Aegeline (or any

other New Formula ingredient) and injury to any New Formula consumer, or any scientifically

based conclusion by FDA that Aegeline or any other New Formula ingredient posed any risk of

harm. 3

III.      ARGUMENTS AND AUTHORITIES

          Counts 9 and 10 should be dismissed because they are unconstitutionally vague. First,

Section 331(a)(1), both by its express terms as interpreted by the Supreme Court, lacks a clear

intent requirement, and is therefore unconstitutionally vague for that reason alone. Second, the

two statutory provisions underlying Counts 9 and 10 - §§ 343(a)(1) and 342(f)(1)(A)(i),

respectively – are also unconstitutionally vague as applied here, as they lack any discernible

standards that place Defendants on notice as what conduct these provisions proscribe. Because

Counts 9 and 10 combine the Constitutionally deficient strict-liability standard of § 333(a)(1)

with each of these unconstitutionally vague provisions, these Counts must be dismissed.

          A.     APPLICABLE LAW

          To determine whether a statute is unconstitutionally vague, the Fifth Circuit employs a

multi-factor test that evaluates the following factors: (1) whether the statute at issue in an


3
        To the contrary, Defendants will establish through the testimony of multiple experts at trial that Aegeline
posed no harm to consumers of New Formula (or any other USPlabs supplement).

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economic regulation, as a party may seek clarification of an economic regulation from the

relevant agency if necessary; (2) the amount of notice that a party has that its conduct was

proscribed; (3) whether the regulation at issue include a scienter requirement or is a strict-

liability offense; and (4) whether the violation of the regulation exposes the violator to civil

penalties, or to criminal ones. See United States v. Clinical Leasing Serv., Inc., 925 F.2d 120,

122-23 (5th Cir. 1991); Roark & Hardee LP v. City of Austin, 522 F.3d 533, 551-52 (5th Cir.

2008); see also Vill. of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 498-99

(1982).

          An unconstitutionally vague provision is not rendered constitutional “merely because

there is some conduct that clearly falls within the provision’s grasp.” Johnson, 135 S. Ct. at

2561. In Johnson, for example, the Supreme Court passed on the constitutionality of the residual

clause to the Armed Career Criminal Act, which applies to persons with three or more

convictions of a “violent felony,” which the Act defined to include “any crime punishable by

imprisonment for a term exceeding one year . . . that [among other possibilities] or otherwise

involves conduct that presents a serious potential risk of physical injury to another.” Johnson,

135 S. Ct. at 2555-56. The Court explained that its own struggle to define this residual clause

and the category of conduct that it applied to rendered it unconstitutionally vague. Id. at 2557-60

(“Nine years’ experience trying to derive meaning from the residual clause convinces us that we

have embarked upon a failed enterprise. Each of the uncertainties in the residual clause may be

tolerable in isolation, but their sum makes a task for us which at best could be only guesswork.”

(internal quotation marks omitted)).

          The recognition in the Clinical Leasing factors that a strict-liability criminal statute raises

Constitutional concerns reflects a long tradition in the criminal law of requiring mens rea before

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declaring an individual’s conduct to be criminal. As the Supreme Court put it more than half a

century ago,

               [t]he contention that an injury can amount to a crime only when
               inflicted by intention is no provincial or transient notion. It is as
               universal and persistent in mature systems of law as belief in
               freedom of the human will and a consequent ability and duty of the
               normal individual to choose between good and evil.

Morissette v. United States, 342 U.S. 246, 250-51 (1952). Accordingly, “[w]hile strict liability

crimes are not unknown to the criminal law and do not invariably offend constitutional

requirements, the limited circumstances in which Congress has created and [the Supreme Court]

has recognized such offenses, attest to their generally disfavored status.” United States v. U.S.

Gypsum Co., 438 U.S. 422, 437-38 (1978). As the Fifth Circuit has recognized, “[s]trict liability

exacerbates vagueness. . . .” Okpalobi v. Foster, 190 F.3d 337, 360 (5th Cir. 1999), vacated on

other grounds, 244 F.3d 405 (5th Cir. 2001); see also Vill. of Hoffman Estates, 455 U.S. at 499

(noting that “a scienter requirement may mitigate a law’s vagueness, especially with respect to

the adequacy of the notice to the complainant that his conduct is proscribed.”).

       B.      COUNTS NINE AND TEN SHOULD BE DISMISSED BECAUSE
               MISDEMEANOR LIABILITY UNDER THE FDCA IS A STRICT
               LIABILITY OFFENSE.


       21 U.S.C § 333(a)(1) – the statute under which Counts Nine and Ten are brought – is

essentially a strict-liability offense, and does not require the Government to prove that a

defendant acted with an intent to defraud or mislead. Instead, the Supreme Court has interpreted

§ 333(a)(1) to allow a defendant to be convicted of an adulteration or misbranding misdemeanor

if he “had, by reason of his position in the corporation, responsibility and authority either to

prevent in the first instance, or promptly to correct, the violation complained of, [but] failed to do


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so.” United States v. Park, 421 U.S. 658, 673-74 (1975) (quotation marks and citations omitted);

see also United States v. Dotterweich, 320 U.S. 277, 285 (1943).

          Thus, notwithstanding the Park doctrine, Counts Nine and Ten must be dismissed

because § 333(a)(1)’s lack of a scienter requirement renders these Counts unconstitutionally

vague.

                 1.     Counts Nine and Ten Are Unconstitutionally Vague Because 21 U.S.C
                        § 333(a)(1) Lacks a Clear Scienter Requirement.

          While Counts Nine and Ten allege certain Defendants violated different underlying

substantive statutes, they are both enforced via 21 U.S.C § 333(a)(1). That statute makes it a

misdemeanor to introduce into interstate commerce “any food, drug, device, tobacco product, or

cosmetic that is adulterated or misbranded,” in violation of 21 U.S.C § 331(a). Unlike most

other criminal statutes, however, 21 U.S.C § 333(a)(1) does not include a scienter requirement,

and is essentially a strict liability offense. United States v. Park, 421 U.S. 658, 673-74 (1975)

(“The [Food, Drug & Cosmetic] Act does not, as we observed in Dotterweich, make criminal

liability turn on ‘awareness of some wrongdoing’ or ‘conscious fraud.’”); see also United States

v. Dotterweich, 320 U.S. 277, 285 (1943). Equally important, the class of persons susceptible to

prosecution under Section 333(a)(1) is not subject to any clear limit. See Dotterweich, 320 U.S.

at 285.

          In both Park and Dotterweich, the Supreme Court affirmed the conviction of corporate

executives under Section 331(a) for the sale of misbranded or adulterated food by the

corporations they were in charge of; no evidence was presented indicating that the executives

had any individual role in any wrongdoing. See Park, 421 U.S. at 672-74 (affirming conviction

of CEO of corporation for sale of adulterated food based on finding that food was stored in


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warehouses with rat infestations); Dotterweich, 320 U.S. at 284-85 (affirming conviction of

president and general manager of pharmaceutical corporation of two counts of misbranding and

one count of adulteration). The defendant executives in both cases were subjected to fines, but

neither argued that their prosecution under Section 333(a)(1) was unconstitutionally vague. 4

         Section 333(a)(1)’s lack of a scienter element, as determined in Park and Dotterweich,

renders it unconstitutionally vague – an issue neither the Park nor the Dotterweich courts

addressed. 5 It is well settled that, “as a matter of due process, a criminal statute that fails to give

a person of ordinary intelligence fair notice that his contemplated conduct is forbidden by the

statute, or is so indefinite that it encourages arbitrary and erratic arrests and convictions, is void

for vagueness.” Colautti v. Franklin, 439 U.S. 379, 390 (1979); Johnson v. United States, 135

S.Ct. 2551, 2556-57 (2015) (holding residual clause of Armed Career Criminal Act was void for

vagueness).

         Colautti, a case decided after both Dotterweich and Park, is instructive here. In that case,

the defendants sought to enjoin enforcement of a statute that required a doctor to observe a stated

standard of care if (1) he determined that a fetus was viable, or (2) there was “sufficient reason to

believe that the fetus may be viable.” 439 U.S. at 391 (citation omitted). That standard was

inherently vague because it failed to make clear “whether the statute [imported] a purely

4
 See Pet. for Writ of Cert., Dotterweich, 320 U.S. 277 (No. 5) (omitting any constitutional citations or argument);
Br. for the United States, Dotterweich, 320 U.S. 277 (No. 5), 1943 WL 54821 (same); Br. for the Resp’t,
Dotterweich, 320 U.S. 277 (No. 5), 1943 WL 54822 (same); Pet. for Writ of Cert., Park, 421 U.S. 658 (No. 74-215),
1974 WL 354412; Br. for Resp’t in Opp’n, Park, 421 U.S. 658 (No. 74-215), 1974 WL 354411 (same); Br. for
Resp’t, Park, 421 U.S. 658 (No. 74-215), 1974 WL 370189 (same); Reply Br. for the United States, Park, 421 U.S.
658 (No. 74-215), 1974 WL 370186 (same).
5
  Dotterweich and Park both predate the passage of the Dietary Supplement Health and Education Act (“DSHEA”),
which was signed into law on October 25, 1994. It was the DSHEA that amended the FDCA to include an
adulteration provision for dietary supplements. See DSHEA § 4 (codified at 21 U.S.C. § 342(f)(1)). And it was the
DSHEA that brought dietary supplements within the meaning of the term “food,” and thereby within the ambit of
the FDCA’s misbranding provision. See DSHEA § 3 (codified at 21 U.S.C. § 321(ff)). Accordingly, Dotterweich
and Park did not address the unique vagueness issues that have arisen around the regulation of dietary supplements.
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subjective standard or . . . a mixed subjective and objective standard.” Id. at 391. Thus, because

the law “subject[ed] the [defendant] to potential criminal liability without regard to fault,” the

Supreme Court declared the entire statute “void on its face.” Id. at 394-96 (emphasis added).

       So too here. Section 333(a)(1) contains no language requiring any finding of fault on the

part of a defendant charged thereunder. Indeed, by deliberately declining to formulate any

standards resembling an intent requirement under § 333(a)(1), Dotterweich and Park created a

vagueness problem that courts have yet to rectify. Indeed, the Supreme Court in Dotterweich

recognized the vagueness inherent in the strict-liability standard that it applied to Section

333(a)(1), making it applicable to an unknown class of corporate decision-makers:

               To attempt a formula embracing the variety of conduct whereby
               persons may responsibly contribute in furthering a transaction
               forbidden by an Act of Congress, to wit, to send illicit goods across
               state lines, would be mischievous futility. In such matters the
               good sense of prosecutors, the wise guidance of trial judges, and
               the ultimate judgment of juries must be trusted. Our system of
               criminal justice necessarily depends on conscience and
               circumspection in prosecuting officers, even when the
               consequences are far more drastic than they are under the provision
               of law before us.

Dotterweich, 320 U.S. at 285 (internal citation and quotation marks omitted, emphasis added);

see also id. at 287 (Murphy, J. dissenting) (noting that the FDCA simply does not make “any

reference to corporate officers” as individuals who may be held criminally liable for the actions

of other employees).

       Park likewise declined to create any standards that would clarify the scope of the

doctrine, reasoning that it was “‘too treacherous’ [to] attempt ‘to define or even to indicate by

way of illustration the class of employees’” who could be convicted of FDCA misdemeanors

based on their status as a “responsible” corporate officer. Park, 421 U.S. at 669 (quoting


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Dotterweich, 320 U.S. at 285). Instead, it noted that a corporate officer’s responsibility would

“depend[] ‘on the evidence produced at the trial and its submission – assuming the evidence

warrants it – to the jury under appropriate guidance.’” Id. (quoting 320 U.S at 285).

       Subsequent case law has failed to inject discernible standards into the Park doctrine. As

one scholar put it, the “level of supervisory control an executive must have to be held criminally

responsible . . . has remained unanswered in the Supreme Court and lower court opinions.”

Katrice Bridges Copeland, The Crime of Being in Charge: Executive Culpability and Collateral

Consequences, 51 Am. Crim. L. Rev. 799, 815 (2014). Another pair of scholars simply stated

that, under the law as it currently stands, “[t]here is effectively no standard for determining when

the Park doctrine should apply. . . .” Greenberg & Brotman, supra, at 94.

       This case exemplifies the lack of fair notice that Park and Dotterweich have created for

potential defendants, making Section 333(a)(1) unconstitutionally vague.             Three of the

defendants charged with Count Nine – Miles, SK Labs, and Patel – are not executives or even

control persons of USPlabs. Two are not even USPlabs’ employees. Allowing the conviction of

non-control person employees such as Miles and Patel goes far beyond the class of persons who

could appropriately be held responsible for a corporation’s misbranding without any showing

that those employees knew or intended for the violation to occur. See Park, 421 U.S. at 672-74

(affirming conviction of CEO of corporation for sale of adulterated food based on finding that

food was stored in warehouses with rat infestations); Dotterweich, 320 U.S. at 284-85 (affirming

conviction of president and general manager of pharmaceutical corporation of two counts of

misbranding and one count of adulteration).

       If it would be an exercise in “mischievous futility,” Dotterweich, 320 U.S. at 285, to even

define the class of persons subject to prosecution under Section 333(a)(1), that class of persons

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cannot possibly have notice that the statute could be applied to them. See Johnson, 135 S. Ct. at

2560-61. Indeed, leaving the decision of which class of persons could be subject to prosecution

under Section 333(a)(1) to prosecutorial discretion is the epitome of the lack of fair notice that

the Fifth Amendment requires. See Johnson, 135 S. Ct. at 2557-60. Accordingly, the lack of a

scienter requirement in § 333(a)(1) renders that provision of the FDCA unconstitutionally vague,

even without consideration of the other vague statutes at issue in Counts Nine and Ten. Those

Counts should be dismissed for this reason alone.

       C.      COUNTS NINE AND TEN SHOULD BE DISMISSED BECAUSE THEY
               ARE EACH BASED ON UNCONSTITUTIONALLY VAGUE STATUTES
               AS APPLIED HERE.

       In addition to being unconstitutionally vague due to Section 333(a)(1)’s lack of an intent

requirement, each of Counts Nine and Ten present additional and independent due process

concerns. Count Nine is unconstitutionally vague because whether the labeling at issue is “false

and misleading” turns on the meaning of a term that is nowhere defined by statute or regulation.

Similarly, Count Ten’s “unreasonable or significant risk of illness or injury” requirement

presents an open-ended standard that is similarly incompatible with due process. Counts Nine

and Ten must therefore be dismissed.

               1.     Count Nine Must Be Dismissed Because 21 U.S.C. § 343(a)(1) Is
                      Unconstitutionally Vague as Applied to This Case.

       Count Nine charges certain Defendants with misbranding Advanced Formula because

that dietary supplement listed the Cynanchum included in it as an extract when, according to the

Government, the supplement contained Cynanchum in powder form. Indictment at ¶¶ 63, __.

First, the two are not mutually exclusive; indeed, most extracts come in powdered form; thus,

just because USPlabs used powdered Cynanchum does not mean that it did not also use

Cynanchum extract. More to the point, there are no discernable standards to determine whether
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an ingredient is an extract or not – neither the FDCA nor its regulations define the term “extract.”

Thus, the phrase “false or misleading” is unconstitutionally vague as applied to dietary

supplement label claims for “extracts.”

         The FDCA – as amended by the DSHEA – provides definitions for almost fifty different

terms, including the term “dietary supplement.” See 21 U.S.C. § 321(ff). While the definition of

“dietary supplement” uses the word “extract,” it does not indicate what the latter term means.

Moreover, although Title 21 of the Code of Federal Regulations contains nearly twenty-five

pages of rules for the nutritional labeling of dietary supplements – including a section

specifically referencing extracts – it also fails to define what an extract is. See 21 C.F.R. §

101.36. The only other relevant uses of the word “extract” in the Code of Federal Regulation are

found in the definition of specific ingredients – see, e.g., 21 C.F.R. § 169.175 (defining vanilla

extracts) – that do not provide generally applicable guidance to dietary supplement

manufacturers.

         In short, dietary supplement manufacturers have no definitive way of determining if an

ingredient will qualify as an extract under the law. They cannot turn to any statute or binding

regulation, and are instead left guessing, with an incorrect guess subject to punishment by

criminal prosecution. This risk is particularly acute in this case because, as explained in other

motions, the Cynanchum that USPlabs used in Advanced Formula met the dictionary definition

of “extract.” 6 As such, when applied to dietary supplements allegedly misbranded for containing

ingredients that the Government alleges were not “extracts,” 21 U.S.C. § 343(a)(1) is so devoid


6
         As argued in Defendants’ Motion To Dismiss Counts 5, 8 and 9, the Indictment fails to allege that
Defendants’ identification of cynanchum auriculatum as an “extract” on its Advanced Formula labels is false or
misleading because, as the evidence cited in the Indictment demonstrates, the ingredient was in fact an aqueous
“extract,” according to the dictionary definition of that term. In any event, the application of the FDCA’s
misbranding provision is, at best, ambiguous without a more specific statutory or regulatory definition of “extract.”
                                                        11
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of discernable standards that a person of ordinary intelligence simply cannot determine if using a

particular ingredient will subject him to criminal liability. This lack of standards is exacerbated

by the fact that an individual may be held liable under the Park doctrine even if he acted in good

faith, and allows prosecutors to threaten dietary supplement manufacturers with criminal liability

on little more than a whim.      See Okpalobi, 190 F.3d at 360 (“Strict liability exacerbates

vagueness. . . .”); Vill. of Hoffman Estates, 455 U.S. at 499 (noting that “a scienter requirement

may mitigate a law’s vagueness, especially with respect to the adequacy of the notice to the

complainant that his conduct is proscribed”). Coupled with all of the other flaws noted above,

Count Nine is based on the alleged violation of an unconstitutionally vague statute (at least as

applied to extracts), and therefore must be dismissed.

               2.      Count Ten Must Be Dismissed Because 21 U.S.C. § 342(f)(1)(A)(i) Is
                       Unconstitutionally Vague as Applied to This Case.

       21 U.S.C § 342(f)(1)(A)(i), which forms the substantive basis of Count Ten, provides that

a dietary supplement is adulterated if it “presents a significant or unreasonable risk of illness or

injury under conditions of use recommended or suggested in labeling.”            A close analysis

demonstrates that this statute is unconstitutionally vague when applied to this case, even without

addressing the lack of a scienter requirement. As such, Count Ten must be dismissed.

       The adulteration statute’s substantive standard – namely, that a dietary supplement is

adulterated if is poses a “significant or unreasonable risk of illness” – is so open-ended that it

cannot possibly survive a Constitutional vagueness challenge. This standard is Constitutionally

flawed because its use of the terms “significant” and “unreasonable” is irremediably vague and

ambiguous. Indeed, the Supreme Court recently found a statute that used similarly vague terms

– the residual clause of the Armed Career Criminal Act – unconstitutionally vague. See Johnson,


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135 S. Ct. at 2555-56 (defining “violent felony” to include “any crime punishable by

imprisonment for a term exceeding one year . . . that [among other possibilities] or otherwise

involves conduct that presents a serious potential risk of physical injury to another” (emphasis

added)).

         First, FDA’s own interpretation of what constitutes an “unreasonable” risk under Section

342(f)(1)(A)(i) is so malleable a standard that it cannot provide fair notice to potential defendants

of when they risk violations of § 343(f)(1)(A)(i). FDA has never instituted an administrative

procedure to declare Aegeline (or New Formula) adulterated.                       Indeed, it has stated, in a

rulemaking that declared a dietary ingredient unrelated to this case (ephedrine alkaloids) to be

adulterated, that a determination that a dietary supplement is adulterated under Section

342(f)(1)(A)(i) requires a “risk/benefit analysis to ascertain whether the risks of the product

outweigh its benefits,” and that only benefits that were “supported by a meaningful totality of the

evidence, given the current state of scientific knowledge” should be considered as part of this

analysis.     69 Fed. Reg. 6788, 6798 (2004); see also 21 C.F.R. § 119.1 (final rule banning

ephedrine alkaloids); Nutraceutical Corp. v. Von Eschenbach, 459 F.3d 1033, 1036 (10th Cir.

2006) (upholding 21 C.F.R. § 119.1). 7             In other words, under the FDA’s reading of Section

342(f)(1)(A)(i), a jury tasked with determining whether Defendants violated that provision must

engage in a detailed and thorough “risk/benefit analysis” that weighs the risks of a product

against its benefits, an exercise normally reserved for regulatory expertise. 8                     Although the

question of whether the risk posed by a dietary supplement meets the vague standards of
7
          Because ephedrine alkaloids are the only ingredients that FDA has declared on the public record to be
adulterated for use in dietary supplements, regulated parties like USPlabs have little to no basis to predict how FDA
will treat any given dietary ingredient that comes under scrutiny.
8
         Moreover, the FDA’s reading of the statute also fails to address the problem identified supra – i.e., under
what circumstances a dietary supplement could pose a risk that was “reasonable” (i.e., the benefits outweigh the
risks) but nonetheless “significant” enough to be “adulterated” under § 342(f)(1)(A)(i).
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“unreasonableness” or “significance” may be appropriate for a regulator to resolve, those terms

are simply too vague to pass Constitutional muster in a criminal context.

         Moreover, documents produced by the Government in the case make clear that even the

Government internally was unclear whether Aegeline is adulterated or not. 9                            FDA never

subjected either Aegeline or New Formula to any notice and rulemaking process to declare it

adulterated. If the agency responsible for regulating the subject matter at issue was unclear,

potential defendants are certainly unclear, and a criminal prosecution on that basis is void for

vagueness. See United States v. Ward, 2001 WL 11601628, at *11-18 (E.D. Pa. Sept. 5, 2001)

(dismissing indictment where OSHA was unclear and issued misleading guidance regarding

issue). 10

         Second, the statute uses disjunctive phrasing to connect the words “significant” and

“unreasonable,” misleadingly suggesting to the jury that the “risk” in question can only be one or

the other. For example, if a dietary supplement manufacturer put a product through extensive

testing and determined that it did not pose an unreasonable risk – as USPlabs did with New

Formula – a jury might nevertheless consider those risks “significant.” Similarly, a dietary


9
          Ex. A (noting that the FDA "completed some tox testing on aegeline and higenamine," the results of which
"weren't all that exciting.”); Ex. B. (acknowledging that FDA has “no information at all about the health hazards
associated with aegeline.”); Ex. C. (noting that “the exact role of aegeline in recent cases of liver damage is still
being investigated”); Ex. D (noting that “we really do not know that illness was confined exclusively to product
containing aegeline” and that “[b]ecause FDA received reports of liver injury in persons who had ingested
OxyElitePro prior to the addition of aegeline (albeit infrequently), we believe it’s at least possible that some cases
during the study period could have been due to DMAA.”); Ex. E (noting that uncertainty remained as to whether
aegeline or “the combination of ingredients in OEP, rather than just the aegeline [were] causing the [reaction to] the
product,” and stating that “it would seem appropriate to test aegeline alone and then aegeline in various
combinations” in order to determine the role of the ingredient in the alleged outbreak).
10
         Moreover, the Indictment does not alleviate these concerns by providing additional detail; rather, as
explained above, and in Defendants separate Motion to Dismiss Count 10, the Indictment pleads no facts in support
of it. Indeed, Count Ten does not even specify the particular ingredient the Government alleges caused New
Formula to be adulterated. Counsel for USPlabs has requested basic details concerning Count Ten from the
Government; to date, the Government has declined to respond with any additional specificity.

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supplement with enough potential harms could be considered to have “substantial” risks, even if

those risks were outweighed by its benefits, resulting in an overall risk profile was not

“unreasonable.”       Thus, the statute leaves unclear to potential defendants under what

circumstances a reasonable risk can nonetheless be “significant,” or when an “unreasonable” risk

might be insignificant. In either situation, a dietary supplement manufacturer has no advance

notice as to what risks would be either “significant” or “unreasonable” and thus as to how to

avoid criminal liability under Section 342(f)(1)(A)(i) (even where they have a good-faith basis to

believe that their product is safe for human consumption), and jurors are thus left to guess the

answer to that same question at trial. 11

        D.       COUNTS NINE AND TEN SHOULD BE DISMISSED BECAUSE THE
                 OPERATION OF § 333(a)(1) WITH EACH OF THE STATUTES
                 UNDERLYING THOSE COUNTS IS UNCONSTITUTIONALLY VAGUE.

        As discussed above, both § 333(a)(1) and each of §§ 343(a)(1) and 342(f)(1)(A)(i), at

least as applied to this case, independently fail to provide defendants with notice as to what

conduct is proscribed under those statutes. However, when the Constitutional infirmity of §

333(a)(1) is combined with the unconstitutional vagueness of § 343(a)(1) in Count Nine and §

342(f)(1)(A)(i) in Count Ten, there should be no doubt that Counts Nine and Ten should be

dismissed on Constitutional vagueness grounds.

        Applying Clinical Leasing’s multi-factor analysis confirms that Section 333(a)(1) is

unconstitutionally vague.       First, Section 333(a)(1) is a criminal statute, not an economic

regulation.    Second, Section 333(a)(1) provides no notice to potential defendants or their

potential liability. With respect to Count Nine, Defendants had no notice through any statute or

11
        Except for 21 U.S.C. § 360j(m) – which establishes the humanitarian use exemption for medical devices –
no other section of the FDCA uses the words “significant” and “unreasonable” disjunctively. Accordingly, this
problem is unique to the regulation of dietary supplements.
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binding regulation as to what the Government’s view of the definition of “extract.” See supra,

Section B.1. And with respect to Count Ten, under § 342(f)(1)(A)(i) Defendants (and jurors) are

left to guess where the regulatory balance lies between the benefits of the dietary ingredient in

question the risks that ingredient poses to consumers when used in accordance with the product’s

directions for use.

       Third, Section 333(a)(1), as a basis for charging violations under §§ 343(a)(1) and

342(f)(1)(A)(i), is essentially a strict-liability offense.   Under Park and Dotterweich, the

Government need not show that any of the defendants intended to violate the underlying statutes,

or that they even had knowledge that USPlabs was in violation of the underlying statutes.

Charging Defendants with misbranding under § 343(a) and with adulteration § 342(f)(1)(A)(i) as

strict-liability offenses under § 333(a)(1) weighs heavily in favor of unconstitutional vagueness.

See, e.g., Okpalobi v. Foster, 190 F.3d 337, 360 (5th Cir. 1999), vacated on other grounds, 244

F.3d 405 (5th Cir. 2001) (“Strict liability exacerbates vagueness. . . .”); see also Vill. of Hoffman

Estates, 455 U.S. at 499 (noting that “a scienter requirement may mitigate a law’s vagueness,

especially with respect to the adequacy of the notice to the complainant that his conduct is

proscribed.”). See supra Section B.1.

       Finally, violating Section 333(a)(1) through violations of § 343(a)(1) and 342(f)(1)(A)(i)

exposes the defendants to criminal sanctions, including a fine and up to one year imprisonment.

21 U.S.C. § 333(a)(1). Thus, each of the factors in the Fifth Circuit’s multi-factor analysis

counsels in favor of finding Section 333(a)(1) unconstitutionally vague. See United States v.

Clinical Leasing Serv., Inc., 925 F.2d 120, 122-23 (5th Cir. 1991); Roark & Hardee LP v. City of

Austin, 522 F.3d 533, 551-52 (5th Cir. 2008); see also Vill. of Hoffman Estates v. Flipside,

Hoffman Estates, Inc., 455 U.S. 489, 498-99 (1982).

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         In sum, when the problems posed by §§ 343(a)(1) and 342(f)(1)(A)(i) are considered

together with Section 333(a)(1)’s lack of a scienter requirement, it becomes clear that these

statutes bestow upon the Government something much more than “broad discretion” to bring

misdemeanor misbranding and adulteration cases. Colautti, 439 U.S. at 394. Instead, the

Government has essentially no barriers in bringing such cases, and can therefore easily condition

“potential criminal liability on confusing and ambiguous criteria.” Id. In short, Counts Nine and

Ten are not close calls, nor do they present cases where the charges in question are merely

“disfavored.” U.S. Gypsum Co., 438 U.S. at 437-38. Rather, they are charges that demand

dismissal.


IV.      CONCLUSION AND PRAYER

         For the reasons stated above, Defendants respectfully request that the Court dismiss

Counts Nine and Ten of the First Superseding Indictment.

Dated:         May 1, 2017

                                                    Respectfully submitted:




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                                 CERTIFICATE OF SERVICE

        On May 1, 2017, I electronically submitted the foregoing document with the clerk of the
court of the U.S. District Court, Northern District of Texas, using the electronic case filing
system of the court. I hereby certify that I have served the U.S. Probation Officer, all counsel of
record electronically or by another manner authorized by Federal Rule of Civil Procedure
5(b)(2), and the probation officer assigned to the case.

                                              /s/ Richard B. Roper
                                              Richard B. Roper




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